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THE CLARK CONSTRUCT|ON GROUP, |NC.
Plaintiff,
Vs. Civil Action No. 01-2478 D B

EAGLE AMALGAN|ATED SERV|CES, |NC.,
et al,

Defendants.

 

AGREED ORDER OF DlSNllSSAL WlTH PREJUD|CE

 

By agreement of the parties, and for good cause shown,

lt is hereby ORDERED, ADJUDGED AND DECREED that all claims asserted by
The Ciark Construction Group, lnc. against Le><ington insurance Company in the above
matter are dismissed With prejudice1 and each party to bear their own costs, attorney fees
and expenses.

lT |S SO ORDERED.

Entered this 23 day or % ,2005.

;)Z|TED STATES D|STR|CT JUDGE

 

 

   

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Notice of Distribution

This notice confirms a copy of the document docketed as number 256 in
case 2:0]-CV-02478 Was distributed by faX, mail, or direct printing on
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